                                                                    Judge Mary Jo Heston
 1                                                                  Chapter 13
 2                                                                  Location: Tacoma
                                                                    Hearing Date: February 3, 2020
 3                                                                  Hearing Time: 1:00 p.m.
                                                                    Response Due: January 27, 2020
 4

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 6
                           UNITED STATES BANKRUPTCY COURT
 7                     WESTERN DISTRICT OF WASHINGTON AT TACOMA

 8      IN RE:
                                                            BK Case No. 19-42890-MJH
 9      SARAH HOOVER,
                                                            Chapter: 13
10                Debtor.
11                                                           DECLARATION OF SARAH
                                                             HOOVER IN SUPPORT OF
12
                                                             RESPONSE TO MOTION TO
13                                                           ANNUL THE AUTOMATIC STAY

14
            I, Sarah Hoover, hereby declare as follows:
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            1.     I am a Plaintiff in the above-referenced adversary proceeding and I have personal
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     knowledge concerning all information in this declaration.
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            2.     I live at 18205 106th St E, Bonney Lake, WA 98391 (“the property” or “the
18
     home”), along with my husband and my two children. I have also been helping my adult niece,
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     who has had financial difficulties ever since her father (my eldest brother) was murdered, who
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     stays in our home with her three children, ages 11, 9, and 2 years old. Our home was purchased
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     by my father, Ali Suleiman, in 2005, with the intention that the home would eventually become
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     my own. My father passed away in 2015, and along with my brother Amir Suleiman, we were
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     co-personal representatives of the estate. See King County Superior Court case no. 15-4-01840-7
24
     KNT (non-probate estate matter).
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            3.     Although I am not a lawyer, my understanding is that my father’s will contains a
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     pour-over provision which placed the property into the Ali Suleiman Trust, of which I was a co-
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     DECLARATION OF SARAH HOOVER IN SUPPORT OF                             HENRY & DEGRAAFF, P.S.
     RESPONSE TO MOTION TO ANNUL THE                                          787 MAYNARD AVE S.
     AUTOMATIC STAY - 1                                                   SEATTLE, WASHINGTON 98104
                                                                            telephone (206) 330-0595
                                                                                fax (206) 400-7609
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 1   trustee, and which provided that I would inherit the home. See the Last Will attached hereto as

 2   Exhibit A at ¶ 1.1 and 1.2.

 3           4.      It is my understanding that my father created the Ali Suleiman Trust to manage

 4   his assets in the U.S. since he spent months overseas, living part time in his home country and to

 5   distribute assets from his estate as he wished upon his death. My siblings and I were never part

 6   of the decision to create this trust.

 7           5.      After my father’s passing in 2015, I was advised that transferring title of the

 8   property into my name would be time-consuming and likely expensive (costing several thousand

 9   dollars).

10           6.      At the time of my father’s passing, he also had two other properties that my

11   brother and I successfully sold without making any transfers to the trust. Therefore, this was

12   proof to me that I did not need to immediately transfer title.

13           7.      Later this proved problematic because once I fell behind on the loan, it became

14   difficult to work with the lender/loan servicer because I could not formally assume the loan

15   while it was in arrears.

16           8.      At some point in late 2018, our business had taken a downtown, and we had

17   begun to fall behind on mortgage payments, to the point that one of our monthly payments was

18   returned to us, which caused me concern.

19           9.       My husband and I had suffered a downturn in our family business, which became

20   evident by late 2018.

21           10.     In January 2019, I began discussions with my mortgage servicer, Ocwen (who I

22   understand to be the same company as PHH as of June 1, 2019) to fix the problem. The language

23   used by Ocwen was an “assumption,” but ultimately, I just wanted to fix the arrearage and

24   become current on the loan. In that email, I included a copy of my father’s death certificate and

25   information concerning the trust, indicating that I was the heir to the property. A true and correct

26   copy of a January 11, 2019 email I sent to Ocwen is attached hereto as Exhibit B.

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 1           11.    Thereafter, I called and emailed Ocwen several times about the defaulted payment

 2   on my home.

 3           12.    At first Ocwen told me I could assume the loan and they sent me paperwork to do

 4   so, but the process was never fully explained to me and it wasn't until after submitting the

 5   paperwork that I was told that Ocwen could not do an assumption while the mortgage loan was

 6   in arrears.

 7           13.    Ultimately, in May 2019, I received the Notice of Trustee’s sale (dated May 9,

 8   2019) indicating that foreclosure would take place on September 13, 2019. The notice was

 9   addressed to me personally, Sarah Hoover, and not to the estate of my father or any other entity.

10           14.    At this point, I did not know what I needed to do to save my home from

11   foreclosure. I simply wanted a loan modification, or at least a chance to become current on the

12   loan.

13           15.    When I received a notice from Quality Loan Service (“QLS”) on my door in May

14   2019, I immediately called Ocwen. to find out who QLS was and the representative told me they

15   did not know QLS but assumed they were a third-party company trying to capitalize on my

16   situation and to ignore the notice. Because of the large number of mailings I received from so

17   many companies offering their services to help refinance, do loan modifications, and/or file

18   bankruptcy, it made sense when Ocwen told me that QLS was not affiliated with them.

19           16.    On that same phone call, Ocwen also instructed me to send a variety of forms to

20   Ocwen titled “Assumption of Liability Agreement,” to finally put the property into my name in

21   Ocwen’s servicing records, which I promptly did. A true and correct copy of my May 17, 2019

22   email to Ocwen is attached hereto as Exhibit C.

23           17.    On June 1, 2019, servicing for my mortgage loan began being handled in the

24   name of PHH Mortgage and I was then told that I would need to do a loan modification before I

25   could assume the loan. However, before doing so, PHH needed me to complete a “family

26   transfer.”

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 1          18.     For weeks I struggled to get PHH to receive and process the paperwork they

 2   needed for a “family transfer.” After sending PHH an email in late June to early July that

 3   included the requested documents. I called to follow up to confirm their receipt and was told it

 4   would take 24 – 48 hours for the documents to upload for them tot review the paperwork in their

 5   system, and I was instructed to call back in a couple of days.

 6          19.     When I called PHH back a couple days later, I was told that they could not open

 7   all the documents and that I should fax them instead, which I promptly did.

 8          20.     On July 8, 2019, I sent a fax to PHH containing relevant information about my

 9   father’s trust, as well as an updated copy of my driver’s license, as PHH had requested. A true

10   and correct copy of that fax and its confirmation page are attached hereto as Exhibit D.

11          21.     A week later, I called to follow up on the receipt of my faxed paperwork and I

12   was told that the fax was still being reviewed and it would take an additional 24-48 hours.

13          22.     Finally, two weeks later, I was able to confirm that PHH had uploaded the faxed

14   documents and I spoke to a representative who advised me to go to loansolutionscenter.com to

15   upload additional documents for a loan modification.

16          23.     I returned to the website a week later after gathering the additional documents

17   requested and when I logged in to my account, I found a letter from NewRez stating that because

18   it was to the foreclosure sale date, my loan servicer was unable to review the application for a

19   loan modification. The NewRez letter was signed by my case manager Shelly Robertson which

20   confused me since I thought she worked for PHH, not NewRez. A true and correct copy of an

21   August 2, 2019 letter from NewRez is attached hereto as Exhibit E.

22          24.     Throughout this time, I kept receiving different information and explanations

23   from various representatives of PHH and/or NewRez. The process seemed impossible to

24   navigate, and all I wanted was a chance to save my home. Every time I called PHH, it seemed

25   like the representative wanted to help, and I trusted each person that I spoke with, but I was

26   never being given complete information and often I was given contradictory information. I now

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 1   believe, with the benefit of hindsight, that there was some confusion about whether I could apply

 2   for a loan modification when the loan was not presently in my name.

 3          25.     I also note that, on numerous occasions, when I inquired about the status of the

 4   foreclosure and mentioned Quality Loan Service Corporation (“QLS”), the PHH representatives

 5   told me to ignore anything from QLS because they “did not know who they were,” and

 6   assumed they were some sort of opportunist company “trying to capitalize on my situation.” I

 7   only later came to understand that QLS was the trustee which conducts foreclosure sales.

 8          26.     In August 2019 when I called PHH, they told me for the first time that there was a

 9   37-day period before the sale date when a lender is not required to process any loan

10   modifications and that I would need speak to QLS who PHH confusingly referred to as their

11   “attorney” to stop or pause the foreclosure sale. At that point, I was given the phone number for

12   QLS, I called them, and spoke to Robert McDonald, who I now understand is QLS’ general

13   counsel. He gave me some information concerning the foreclosure sale pending on my Home

14   and advised that only PHH could stop the sale.

15          27.     He also suggested that I should just turn in the modification paperwork to PHH

16   even though it was inside the 37 day window prior to the sale, seek legal counsel, and continue to

17   contact PHH daily requesting them to review the loan modification. Beyond that, Mr. McDonald

18   told me that the only thing he could do was send me a reinstatement quote and he instructed me

19   how to send that request to him in writing via email.

20          28.     When Robert McDonald gave me his email address @qualityloanservice.com it

21   was only then that I realized that he worked for the company that posted a notice on my door

22   months ago and I then understood what that notice from QLS was all about.

23          29.     After hanging up, I immediately followed Robert McDonald's suggestions and

24   requested the loan reinstatement quote. Then called a phone number on one of the many flyers

25   sent to me regarding the upcoming foreclosure and called some attorneys but I was not able to

26   follow through with an appointment prior to the sale.

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 1          30.     I confess that, as a non-lawyer, I did not fully understand the roles each of these

 2   entities played in the foreclosure process. Within just a few months, Ocwen had “become” PHH,

 3   and then “NewRez” started sending me letters “on behalf of” PHH. Then Quality Loan Service

 4   Corporation was involved, which sounds a lot like “loan servicing,” which is what I now

 5   understand PHH’s role to be. I am still confused as to how a “loan service corporation” is the

 6   trustee that conducts the actual foreclosure sale. All I knew was that I was trying to save my

 7   home, and that PHH was the company that controlled whether my home would be foreclosed.

 8          31.     On August 20, 2019, I began keeping records of some of my phone calls with

 9   PHH, including times I spoke with PHH on August 20th, 21st, 23rd, 28th (twice), 29th and 30th (I

10   also noted two other calls, both on September 12th). The purpose of these calls was to try to work

11   with PHH to find out how to save my home from foreclosure. In all of my phone calls I looked to

12   PHH, or Ocwen before PHH, for instruction on what I needed to do to make that happen. I was

13   never given the same instructions or the same information. See contemporaneous notes attached

14   hereto as Exhibit F.

15          32.     I then proceeded to upload the documents I had been gathering to the

16   loansolutioncenter.com website and followed up with Shelly Robertson, my account manager

17   and single point of contact at PHH to confirm receipt.

18          33.     PHH confirmed they received the documents from the loansolutioncenter.com

19   website but they had not been uploaded into their system yet and I was told to call back the next

20   day.

21          34.     On or about August 29, 2019, I emailed Mr. McDonald at QLS to follow up on

22   my August 14, 2019 emailed original request for a reinstatement quote since I had not heard

23   anything back from him. He responded that a review of the Trustee’s file indicated that he did

24   not have the information. Eventually on September 4, 2019, QLS emailed a reinstatement quote

25   to me. A true and correct copy of this email exchange is attached hereto as Exhibit G. I note that

26   the reinstatement quote listed my father’s name and my own name as “borrowers.

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 1           35.     As the foreclosure sale approached, it became clear to me that the only option I

 2   had to was to file a bankruptcy to halt the sale and work toward a payment plan where I could

 3   eventually become current on the loan. My understanding at the time was that a Chapter 13

 4   bankruptcy would be the best approach.

 5           36.     With only $27,695.82 owing in arrears, there was no doubt that I could cure the

 6   arrears in a chapter 13 plan as my household had regular income that could support chapter 13

 7   plan payments. Attached hereto as Exhibit H is a copy of the financials I sent to PHH at around

 8   the time of my bankruptcy filing.

 9           37.     In early September, after three weeks of delay, QLS finally me a letter attached to

10   an email which provided reinstatement figures for the loan and informed me that I would need to

11   pay $27,695.82 by September 12, 2019 to reinstate the mortgage and avoid foreclosure.

12           38.     With very little time left before the foreclosure sale, I filed for bankruptcy on

13   September 9, 2019. A true and correct copy of relevant excerpts of my filings are attached hereto

14   as Exhibit I.

15           39.     On the bankruptcy petition, I listed PHH as the creditor because I thought that

16   was correct, as PHH is the company where I pay my monthly payments. I did not think anyone

17   else was a “creditor” – for example, I did not owe any money to QLS, so I thought it would be

18   improper to list them as a “creditor” to the court when they were not a creditor.

19           40.     I had also hired a company to help me obtain a loan modification, which was

20   called Elite Legal Network. They turned out to be ineffective at this task, but they were willing

21   to convey my bankruptcy filing to PHH as well. On September 9, 2019, on my behalf, Elite

22   Legal Network sent a fax to PHH containing my bankruptcy filing information. A true and

23   correct copy of this fax is attached hereto as Exhibit J.

24           41.     On September 12, 2019, the day before the scheduled sale, I called PHH at least

25   twice. The first representative I spoke with confirmed that my bankruptcy filing had been

26   “added,” but that whatever department was to issue a “stop” on the foreclosure had not yet done

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 1   so. A true and correct copy of my contemporaneously-taken notes reflecting these conversations

 2   are attached hereto as Exhibit K.

 3          42.     I would note that on one of these phone calls to PHH on September 12, 2019, my

 4   case manager” Shelly Robertson – the person identified on the August 2, 2019 letter as my “case

 5   manager” – refused to speak with me (despite having spoken to me before), adding insult to

 6   injury on the day before I was scheduled to lose my home.

 7          43.     The following day, I learned that PHH had not stopped the foreclosure sale. My

 8   brother and my nephew started receiving phone calls that my home was sold at a foreclosure sale

 9   auction and that there were significant surplus funds. They gave them my phone number and one

10   of them called me that afternoon after the sale and told me that in order to get my surplus funds I

11   had to sign some paperwork with a notary and that they would keep 10% of the profit for the

12   fee. He also explained that the new owner was a company and typically when it's a company

13   they buy multiple homes at auction and hire companies like his to pay out the surplus funds

14   when there are some. I am unclear as to whether he was hired by IH6 Property Washington, LP

15   (“IH6”), the company that purchased my home, but I was led to believe that to be the case.

16          44.     I contacted PHH the following week and spoke to an account representative

17   named Melvin. We spoke on the phone for a very long time while he reviewed all the

18   documents in my account file, and he said he would call back after doing some additional

19   research.

20          45.     On September 19, 2019, I received a call back from Melvin, the PHH

21   representative I have talked to previously. He claimed that my bankruptcy filing did not affect

22   the loan because I was, according to him, I was not a successor in interest to the property. He

23   claimed that he was unable to find documents which I had provided numerous times to PHH, but

24   then explained that there were “over 600 documents and emails” in my file and, essentially, that

25   he did not have time to review them all. Melvin suggested that I send a note to PHH with a copy

26   of the page in the Suleiman Trust that references the property, photo identification my father’s

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 1   death certificate, the Affidavit of Trust, and the and a copy of the Bankruptcy Notice to PHH's

 2   research department so that they could try to have the sale rescinded.

 3          46.      Therefore, at my request, on September 19, 2019, Elite Legal Network sent another

 4   fax to PHH with more information. See Exhibit J. An email sent to Elite Legal Network the same day

 5   also documented my conversations with Melvin. See Exhibit L.

 6          47.      On September 20, 2019, I had Elite Legal Network send another fax to PHH with

 7   supplemental information, again including my bankruptcy filing. See Exhibit M.

 8          48.      On September 20, 2019, NewRez sent a letter confirming that it could speak with

 9   Elite Legal Network with respect to the loan. A true and correct copy of this letter is attached

10   hereto as Exhibit N.

11          49.      On or about September 24, 2019, at my request, Elite Legal Network contacted

12   QLS and IH6 on my behalf to request rescission of the foreclosure sale.

13          50.      On or about September 26, 2019, I came home to find a notice taped to my door

14   identifying IH6 Property Washington, LP as the new owner of my home and instructing me to

15   vacate my home by December 1, 2019. Attached is a true and correct copy of this notice as

16   Exhibit O.

17          51.      At that point I felt defeated. I had tried to prevent the foreclosure so that I would

18   have a chance to save my home, however nothing I did had any effect, not even bankruptcy

19   could stop it. Thus, continuing with the bankruptcy at that point made little sense and I let the

20   case dismiss.

21          52.      Soon thereafter I spoke to the owner of IH6 directly and he indicated that he

22   would have no problem selling my house back to me so long as he made a profit if QLS was

23   willing to pay an additional $100,000 above what he paid at the foreclosure sale.

24          53.      Facing no progress from Elite Legal Network to rescind the sale, on October 1,

25   2019, I decided to call QLS myself. I spoke to Robert McDonald at QLS, who at first seemed

26   frustrated that he was going to have to “unwind” this sale since it would potential cost a lot of

27   money and effort to do so. I explained that it was my understanding that the third-party buyer
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